        Case 1:22-cr-02043-SMJ       ECF No. 9       filed 05/16/22             PageID.13 Page 1 of 1



                                UNITED STATES DISTRICT COURT
 1                             EASTERN DISTRICT OF WASHINGTON
 2 UNITED STATES OF AMERICA       )
                                  )
 3             Plaintiff,         )   NO: 1:22-CR-02043-SMJ
                                  )
 4                                )
                                  )
 5                         v.     )   WRIT OF HABEAS CORPUS
                                  )   AD PROSEQUENDUM
 6   MARCELO ANTHONY BENSON, )
                                  )
 7                                )
               Defendant.         )
 8   ____________________________
          THE PRESIDENT OF THE UNITED STATES OF AMERICA
 9

10 TO: Superintendent, Washington State Corrections Center, Shelton, Washington and

11
     to any United States Marshal.
12
                                       GREETINGS
13

14         WE COMMAND that you have and produce the body of MARCELO
15
     ANTHONY BENSON, DOC # 404583 currently in your custody, before the United States
16

17
     District Court, 25 S. Third Street, Yakima, Washington, on June 6, 2022, in order that

18 said prisoner may then and there respond to and answer charges currently pending

19
     against him in the above-entitled case; and at the termination of said case to return
20

21 him forthwith to the custody of said Superintendent.

22         WITNESS, the Duty United States Magistrate Judge, Eastern District of
23
     Washington.
24                                                      SEAN MCAVOY, Clerk
     DATED this 16th day of May, 2022.                  United States District Court
25                                                      Eastern District of Washington
                                                            2:59 pm, May 16, 2022

26

27

28                                                      By:___________________________
                                                        Clerk
29 Writ                                          1
30
